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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA,

v.                                            Case No. 6:06-cr-22-ACC-LHP

JASON E. MADOW,

      Defendant.

       UNITED STATES’ NOTICE OF COMPLIANCE WITH ORDER

      The United States notifies this Court that in accordance with its Order (Doc.

135), the United States notified the Eleventh Circuit Court of Appeals of the

Garnishee’s Answer stating that Madow is no longer employed by the Garnishee,

thus rendering Madow’s appeal pertaining to the writ of garnishment moot. See

United States’ Motion to Dismiss, attached as Exhibit A.

                                       Respectfully submitted,

                                       ROGER B. HANDBERG
                                       United States Attorney

                                 By:   s/ Julie A. Simonsen
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                           CERTIFICATE OF SERVICE

      I certify that on March 9, 2022, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, and I mailed the foregoing

document and notice of electronic filing by certified mail to the following non-

CM/ECF participants:

          Jason E. Madow
          Alpharetta, GA 30022

          HomeOwners Advantage
          Attn: Legal Department
          817 W. Peachtree Street NW, Suite 310
          Atlanta, GA 30308

          JP Morgan Chase Bank, N.A.
          Attn: Ronald Wilcox
          270 Park Ave., 39th Floor
          New York, New York 10017


                                        s/ Julie A. Simonsen
                                        Assistant United States Attorney
